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                              UNTED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division

 JAMES T. PARKER, II and
 DEBRA L. PARKER,

                Plaintiffs,

 v.                                                          Civil Action No.: 4:18cv00140

 FREEDOM MORTGAGE
 CORPORATION, et al.,

                Defendants.


                     MEMORANDUM OF LAW IN OPPOSITION TO
                    DEFENDANT FREEDOM’S MOTION TO COMPEL
                        MEDICAL INFORMATION RELEASE

        Plaintiffs James T. Parker II and Debra Parker, by Counsel, oppose Defendant’s motion to

 compel Plaintiffs to execute and return HIPAA Compliant Authorizations For The Release of

 Medical Records for Hampton Mental Health Associates, Riverside Neurology Specialists and

 Riverside Family Medicine.

                                          I. OVERVIEW.

        Freedom seeks to compel Plaintiffs to execute and return HIPAA Complaint

 Authorizations in order to obtain medical records that Freedom failed to properly and timely seek,

 despite the fact that Plaintiffs provided notice of the existence of such information four months

 ago. Having failed to subpoena the medical records from the medical providers, or seek Mr.

 Parker’s signature in formal discovery, Freedom improperly sought via email to have Mr. Parker

 execute and sign the HIPAA Complaint Authorizations. Having recognized its error, on the day of

 its discovery deadline, Freedom now seeks to circumvent the established rules for discovery and

 compel Plaintiffs to produce such information that has only been requested informally. On this



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 basis, Freedom’s motion should be denied. Additionally, Freedom’s request for such sensitive

 medical information is overbroad, and should be denied on this additional basis.

                                    II. PROCEDURAL HISTORY

        In its Rule 16(b) Scheduling Order on January 29, 2019, this Court scheduled trial for this

 matter to commence on October 22, 2019. (Rule 16(b) Scheduling Order, ¶ 1, ECF No. 16.) In that

 same order, this Court set Plaintiffs’ discovery deadline as August 13, 2019 and Defendant’s

 discovery deadline as September 13, 2019. (Id. at ¶ 3.) On May 15, 2019, Plaintiffs provided

 Freedom with their second supplemental Rule 26 disclosures, which included information about

 the medical providers who have treated Mr. Parker. (Ex. 1, Pls. Second Rule 26 Suppl. Disclosures

 7.) That same day, Plaintiffs provided Freedom with letters from both providers. (Freedom Mem.

 Supp. Mot. Compel, Exs. 4, 5, ECF Nos. 35-5, 35-6.) On September 10, 2019, Freedom deposed

 Mr. Parker, in which Mr. Parker provided over thirty pages of testimony regarding his medical

 history and divulged sensitive and personal information about his medical conditions. (Ex. 2,

 Parker Dep. 23:20 – 49:7, 171:13 – 174:20). Freedom has not served any formal subpoena to any

 of Mr. Parker’s medical providers to date. Freedom has also not served any formal request for Mr.

 Parker to execute a HIPAA release form to date. Instead, on September 6, 2019, Freedom requested

 via email that Mr. Parker execute a HIPAA release form. (Ex. 3, Email Exch. Regarding

 Subpoenas.) Plaintiff refused, given the breadth of the information sought as well as the failure of

 Freedom to comply with the federal and local rules.1 Id. Freedom filed its motion to compel Mr.

 Parker to complete a medical release waiver on September 13, 2019. (Freedom Mot. Compel, ECF

 No. 35.)




 1
  Plaintiffs never provided further objections to Freedom since Freedom never properly served
 these proposed subpoenas.

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                                          III. ARGUMENT

    1. Freedom Cannot Compel Discovery When It Has Only Requested Such Information
       Informally

        A party can only move to compel discovery when it has first made a formal request under

 the Federal Rules of Civil Procedure. Fed. R. Civ. P. 37(a)(3)(B). Where the requested information

 involves medical information, there are specific steps that must be followed to obtain such

 information via discovery to protect the patient’s federal right to privacy. 16 CFR § 164.512(e);

 see also Fields v. W. Va. State Police, 264 F.R.D. 260, 262 (S.D. W. Va. 2010). In particular, when

 a party seeks to subpoena medical information, the patient who is the subject of such records must

 be afforded an opportunity to object to such a request and any such objections must be resolved.

 16 CFR § 164.512(e)(1)(iii)(B)-(C).

        Here, Freedom failed to subpoena the medical professionals who possess the medical

 records. Freedom has failed to make any such formal request appropriately to date and admits such

 by marking its attached subpoenas to medical providers as only proposed, not served. (Freedom

 Mem. Supp. Mot. Compel. 4, Ex. 8, Ex. 9, ECF Nos. 36, 35-8, 35-9.) Rather, Freedom only

 emailed Plaintiffs with its proposed subpoenas. (Ex. 3, Email Exch. Regarding Subpoenas.)

 Defendant never served the subpoenas and in light of the expiration of its discovery completion

 date and the impending trial, there was no procedurally proper means to do so.

        Similarly, Freedom’s informal request for a medical release fails. Freedom argues that its

 Rule 34 document request for medical records in Mr. Parker’s possession enables it to later

 informally request and receive a signed release form from Mr. Parker. To be clear, Freedom did

 request Plaintiffs to produce their medical records in its Request for Production No. 21, and




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 Plaintiffs produced all medical records in their possession.2 Freedom did not attach a medical

 release form to its discovery requests, or otherwise ask through the formal discovery process for

 Mr. Parker to sign a release. Although Freedom asserts that courts in this circuit routinely compel

 parties to sign a medical release form, those cases are inapplicable because the request was made

 in formal discovery, the plaintiff never objected to the motion to compel, or the case was decided

 before federal legislation drastically changed how medical records are disclosed. See Teague v.

 Target Corp., No. 3:06-cv-191, 2006 WL 3690642, *1 (W.D.N.C. Dec. 11, 2006) (Target served

 the proposed authorization and release with the discovery request); Coffin v. Bridges, 72 F.3d 126,

 1995 WL 729489, at *2 (4th Cir.1995) (unpublished) (issuing ruling prior to the enactment of the

 Health Insurance Portability and Accountability Act of 1996); Smith v. Logansport Cmty. Sch.

 Corp., 139 F.R.D. 637, 640 (N.D. Ind. 1991) (noting that plaintiff never filed a response to

 defendant’s motion to compel).3

        Courts have routinely rejected motions to compel on such informal requests. MAO-MSO

 Recovery, LLC, v. Mercury Ge. MAO-MSO II, LLC, Nos. 17-cv-02525-AB (AFMx), 17-cv-02557-

 AB (AFMx), 2019 WL 4277802, *2 (C.D. Cal. July 29, 2019); Kraus v. Alcatel-Lucent, No. 18-


 2
  The Parkers, similar to most people, simply do not keep full copies of their complete medical
 records, instead trusting their medical providers to manage such sensitive information.
 3
   Even if the Court concludes that a party could implicitly request a medical release in requesting
 medical records responsive to a Rule 34 document request, Freedom only sought the medical
 release signature in September, via e-mail, to which Plaintiffs objected. Thereafter, Freedom never
 attempted to meet and confer to resolve these objections. Accordingly, Freedom has plainly failed
 to satisfy the established requirements under Fed. R. Civ. P. 37 or L. Civ.R. 37(E). (“No motion
 concerning discovery matters may be filed until counsel shall have conferred in person or by
 telephone to explore with opposing counsel the possibility of resolving the discovery matters in
 controversy. The Court will not consider any motion concerning discovery matters unless the
 motion is accompanied by a statement of counsel that a good faith effort has been made between
 counsel to resolve the discovery matters at issue.”). The Parties have never once met and conferred
 regarding Plaintiff’s objections or anything else other than a unilateral e-mail demand for the
 signed release.


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 2119, 2019 WL 3304696, at *6 (E.D. Pa. July 22, 2019); Ad Astra Recovery Servs., Inc. v. Heath,

 No. 18-1145-JWB, 2019 WL 2448569, at *6 (D. Kan. June 12, 2019); Harding v. Town of

 Greenwich, No. 3:08CV956(DJS), 2010 WL 4681250, at *2 (D. Conn. Nov. 4, 2010). In our

 federal court system, procedure is paramount in order to ensure the effective administration of

 justice. Before a party can resort to the drastic remedy of court-ordered compulsion, that party

 must follow the procedure clearly laid out in the federal rules. Furthermore, when a party seeks

 such sensitive and personal information as medical records, there are additional steps required

 under federal law before such information can be released. Freedom has failed to follow any of

 these procedures here and thus its motion to seek compulsion from this Court should be denied.

        Freedom’s motion fails no matter whether the Court concludes that either (a.) a Rule 34

 request for medical records may implicitly demand a signed medical records release or (b.) that

 the request for medical records should instead come via a Rule 45 document subpoena. Courts

 have confirmed their deep skepticism to, and sometimes outright rejection of, the notion of using

 Rule 37 to compel a party to actually complete and provide a medical information release rather

 than a conventional Rule 45 subpoena. Fields, 264 F.R.D. at 263-64; Klugel v. Clough, 252 F.R.D.

 53, 55 (D.D.C. 2008), Whyte v. U.S. Postal Serv., No. 11–62112–CIV–COHN/SELTZER, 2012

 WL 13005864, at *2 (S.D. Fl. Jan. 24, 2012); Harding v. Town of Greenwich, No.

 3:08CV956(DJS), 2010 WL 4681250, at *2 (D. Conn. Nov. 4. 2010). Cf. E.E.O.C. v. Princeton

 Healthcare System, No. 10–4126 (PGS), 2012 WL 1623870, at * 19-20, 22 (D.N.J. May 9, 2012).

 If the Court concludes that the records held by a third-party provider have to be obtained via a

 subpoena, the Defendant’s motion fails because it never served a subpoena.

       2.      Freedom’s Motion to Compel Is Untimely Given the Discovery Deadline




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        Freedom’s motion to compel should also be denied given Freedom’s unreasonable delay

 in seeking this information and the prejudice that would result to the Parkers. Discovery requests

 must be limited where the requesting party already had ample opportunity to seek such

 information. Fed. R. Civ. P. 26(b)(2)(C)(ii). Once a formal request for documents has been made,

 the responding party is then allowed thirty days to respond or object. Fed. R. Civ. P. 34(b)(1)(C).

 Courts have rejected discovery requests for not being timely filed. See Tims v. Clark Cty. Sch.

 Dist., No. 2:18-cv-00021-JAD-VCF, 2019 WL 3210063, *3 (D. Nev. July 16, 2019) (finding party

 waived its right to request additional medical documents when such request was not timely made).

        This completion date deadline is particularly critical here as Defendant could not have

 obtained the documents from the third-party providers before the September 13, 2019 date.

 Freedom could not expect to simply mail the proposed release to Riverside Health System and

 receive Plaintiff’s medical file. It would necessarily have had to serve a document subpoena. Even

 if Plaintiffs had signed Defendant’s document on the day demanded, the time for service of such

 a third-party subpoena had already passed before that request was even made. (ECF 16, ¶ 2) (“All

 subpoenas issued for discovery shall be returnable on or before the completion date [September

 13, 2019]”). And even a voluntary request for the documents would take considerably longer than

 the short window Freedom allowed itself.

        Freedom was put on notice of Mr. Parker’s medical providers on May 5, 2019. That same

 month, this Court ordered Freedom to complete discovery by September 13, 2019, so that the

 parties could adequately prepare for trial next month, which is scheduled to begin on October 22,

 2019. Freedom now seeks to disrupt this plan with its motion to compel, despite that fact that it

 has failed to even make a formal discovery request. As explained above, Freedom must first make

 a formal discovery request under the federal rules before this Court can consider a motion to




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 compel. After such a request is made, Plaintiffs must have an opportunity to object and are allowed

 thirty days to adequately prepare such objection. Even if Freedom filed such a formal request

 today, Plaintiffs would be prejudiced given the trial is less than thirty days away. Given that

 Freedom was put on notice months ago about Mr. Parker’s medical issues and its inexcusable delay

 in seeking such information, Freedom’s motion to compel should be denied.

     3. Freedom’s Request For Mr. Parker’s Medical Records Impermissibly requests
     Privileged Information, Is Overbroad and Is Not Proportional to the Needs of the Case

        Setting aside its failure to formally request information, Freedom’s requests must also be

 substantively limited to nonprivileged information that is relevant to the case and proportional to

 the needs of the case. Fed. R. Civ. P. 26(b)(1). In considering such requests, this Court must

 consider the importance of the issues at stake in this action, the parties’ relative access to relevant

 information, the importance of the discovery in resolving the issues, and whether the burden or

 expense of the request outweighs its likely benefit. Id. Freedom’s request does not comport with

 the federal rules on discovery as it impermissibly seeks both privileged information and overly

 broad information that is not proportional to the needs of the case.

        Freedom’s proposed subpoenas are improper as Freedom seeks to make a blanket request

 for all of Mr. Parker’s medical records over a four-year period without any regard to the subject

 matter of information contained in those records. (Freedom Mem. Supp. Mot. Compel., Exs. 8, 9,

 ECF Nos. 35-8, 35-9.)4 The federal rules simply do not allow such unbridled requests, as this Court

 has stated:




 4
   Freedom claims it attached a third authorization for release of records to “Riverside Family
 Medicine” to its brief. (Freedom Mem. Supp. Mot. Compel 5, n.5, ECF No. 36). However, none
 of the attached draft subpoenas reference this medical provider. (See Freedom Mem. Supp. Mot.
 Compel, Exs. 8, 9, ECF Nos. 35-8, 35-9). Plaintiffs preserve the arguments in this brief against
 any medical records requests made by Freedom.

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            A plaintiff seeking emotional distress damages has a right to have
            discovery limited to information that is directly relevant to the lawsuit....
            [D]efendants may not engage in a fishing expedition by inquiring into
            matters totally irrelevant to the issue of emotional distress. The scope of
            discovery must be limited to whether, and to what extent, Defendant’s
            actions caused Plaintiff to suffer emotional harm…The scope of
            discovery into the sensitive area of private medical information should
            be limited and confined to that information that is essential to a fair trial.

 Cappetta v. GC Servs. Ltd. P’ship, 266 F.R.D. 121, 126 (E.D. Va. 2009) (quoting Vasconcellos v.

 Cybex Int’l, Inc., 962 F.Supp. 701, 709 (D.Md.1997); Jackson v. Chubb Corp., 193 F.R.D. 216,

 224 (D.N.J.2000)) (internal citations and quotations omitted); see also Fed. R. Civ. P.

 26(b)(2)(C)(iii);5 Fed. R. Civ. P. 45(c)(3)(A)(iii)(iv);6 In Re Renfrow, Case No. 17-10385-R, 2019

 WL 2240902, at *5 (Bankr. N.D. Okla. May 22, 2019) (upholding denial of defendant’s motion to

 compel production of three years of medical records on grounds that the benefit of such request

 was “grossly outweighed” by potential harm to plaintiff’s privacy interests). In assessing requests

 such as the one made by Freedom, this Court should employ a balancing test to determine whether

 Freedom’s desire for relevant information outweighs Mr. Parker’s right to privacy. See Tims v.

 Clark Cty. Sch. Dist., No. 2:18-cv-00021-JAD-VCF, 2019 WL 3210063, *4 (D. Nev. July 16,

 2019).



 5
   Rule 26(b)(2)(C)(iii) states:
            On motion or on its own, the court must limit the frequency or extent of
            discovery otherwise allowed by these rules or by local rule if it
            determines that ... the burden or expense of the proposed discovery
            outweighs its likely benefit, considering the needs of the case, the amount
            in controversy, the parties’ resources, the importance of the issues at
            stake in the action, and the importance of the discovery in resolving the
            issues.
 6
   Rule 45(c)(3)(A)(iii)-(iv) states:
            “Quashing or Modifying a Subpoena .... On timely motion, the issuing
            court must quash or modify a subpoena that:
            (iii) requires disclosure of privileged or other protected matter, if no
            exception or waiver applies; or
            (iv) subjects a person to undue burden.”

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        The analysis in Tims in instructive in this case. In Tims, the defendant moved to compel

 the plaintiff to sign a medical release authorization in order to obtain plaintiff’s medical records.

 Id. at *1-2. The plaintiff had a pre-existing condition that exacerbated the damages she suffered.

 Id. at *3. The court in Tims ruled that the plaintiff should not be compelled to sign the medical

 release form because the defendant’s need for the information did not outweigh the plaintiff’s right

 to privacy. Id. at *5. Similar to the plaintiff in Tims, Mr. Parker also has a pre-existing condition

 that exacerbated the damages he suffered due to Freedom’s misconduct. Mr. Parker has also

 already provided extensive medical history information—including detailed prescription

 information, the doctors he sees, and personal details about his conditions—to Freedom through

 his deposition testimony. (Ex. 2, Parker Depo. 23:20 – 49:7, 171:13 – 174:20). Freedom is simply

 not entitled to a wholesale invasion of Mr. Parker’s right to privacy, especially given it has not

 substantively limited its request for medical records, and this Court should follow the same

 rationale in Tims and deny the motion to compel Mr. Parker to sign the medical authorization

 releases.

        Freedom’s request for records from Hampton Mental Health Associates should be denied

 on the additional basis that the request impermissibly seeks privileged information. Mental health

 information between a client and psychotherapist is privileged and generally not discoverable.

 Jaffee v. Redmond, 518 U.S. 1, 15 (1996). This privilege is not waived when a plaintiff seeks

 “garden variety” emotional distress damages, such as the “non-medical loss of enjoyment of life,

 humiliation, embarrassment, fear, anxiety, and anguish/grief.” See Karrani v. JetBlue Airways

 Corporation, No. C18-01510-RSM, 2019 WL 2269818, at *3 (W.D. Wash. May 28, 2019)

 (finding plaintiff who alleged “garden variety” emotional distress has not waived the

 psychotherapist privilege); see also Griggs v. Weiner, No. CV–13–3885 (JFB) (AYS), 2015 WL




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  6455298, at *3 (E.D.N.Y. Oct. 26, 2015).7 Where, however, a plaintiff alleges a separate tort for

  emotional distress, any specific psychiatric injury or disorder, or unusually severe distress, the

  psychotherapist privilege may be waived. See Koch v. Cox, 489 F.3d 384, 390 (D.C. Cir. 2007).

         Freedom has completely ignored this privilege and seeks to compel Mr. Parker to sign a

  release allowing Freedom to obtain “[a]ll medical and mental health records” from his treating

  therapist at Hampton Mental Health Associates for period of over four years. (Freedom Mem.

  Supp. Mot. Compel, Ex. 8, ECF No. ECF 35-8.) Mr. Parker has alleged emotional distress damages

  as a result of Defendant’s conduct, in that his pre-existing conditions were exacerbated by

  Freedom’s misconduct. Mr. Parker has not alleged a separate tort for emotional distress.

                                          IV. CONCLUSION

         For nearly four months, Freedom had notice of Mr. Parker’s medical providers. And yet,

  Freedom never formally sought the requested medical records from such providers. Moreover,

  Freedom then delayed until the very end of discovery to seek this Court to compel Mr. Parker to

  authorize release of a wide scope of medical records without any regard to the subject matter of

  such records. Freedom’s request is improper, untimely and thus prejudicial to Plaintiffs’ case, and

  also disregards Mr. Parker’s legal privilege to such records. This Court should deny Freedom’s

  motion to compel.




  7
   This basic principal of non-waiver of the psychotherapist-patient for claiming only standard
  emotional distress damages is also clear in cases that Freedom cited in its brief. Adams v. Ardcor,
  196 F.R.D. 339, 344 (E.D. Wis. 2000).

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  Dated: September 27, 2019.

                                                          Respectfully submitted,

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                                                          DEBRA L. PARKER


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                                                          Counsel for Plaintiff




                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 27 day of September 2019, I caused a true and correct copy of

  the foregoing to be filed using the Clerk of Court’s CM/ECF system, which then sent a notice of

  electronic filing to all Counsel of Record.


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